      Case 2:15-cr-00190-KJM Document 209 Filed 09/01/17 Page 1 of 2


1    Dustin D. Johnson (SBN: 234008)
     Two Rivers Law, P.C.
2    2701 Del Paso Road, Suite 130-155
     Sacramento, CA 95835
3    Phone: (877) 377-8070
     Fax: (916) 244-9889
4

5    Attorney for George B. Larsen

6

7

8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            No.   2:15-CR-0190 GEB
12                  Plaintiff,            ORDER
13         v.                             Judge: Hon. Garland E. Burrell
                                          Time: 9:00 a.m.
14   George B. Larsen,                    Date: September 12, 2017
15                  Defendant.
16

17   To: UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:

18         This is to authorize and direct you to furnish defendant

19   George B. Larsen with transportation and subsistence from the

20   Portsmouth, New Hampshire area to Sacramento, California on

21   September 9, 2017 and from Sacramento, California to New

22   Hampshire on or before September 29, 2017 or as soon thereafter

23   as possible.

24         Mr. Larsen is indigent and financially unable to pay his

25   travel expenses to and from Sacramento, California. This request

26   is authorized pursuant to 18 U.S.C. § 4285.

27   ///

28   ///
                                         1
      Case 2:15-cr-00190-KJM Document 209 Filed 09/01/17 Page 2 of 2


1

2        IT IS SO ORDERED.

3    Dated:   September 1, 2017

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         2
